—Case11?- -04327-LES-RWE Document 64 Filed 09/19/17 Page 1 Of 3.55 LLP
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September 19, 2017
VIA ELECTRONIC FILING

Hon. James C. Francis, U.S.M.J.
United States District Court
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: Dardashtian, et al. v. Gitman, et al., Case No.: 17-cv-4327 (LLS)
Dear Magistrate Judge Francis:

We represent Defendants David Gitman, Accel Commerce, LLC ("Accel"), Dalva Ventures, LLC
("Dalva") and ChannelReply, Inc. ("CR, Inc.") in the above-referenced action. In response to the Court's
Order, dated September 14, 2017, the parties, through their respective counsel, were to submit a joint
letter updating the Court on the status of the issues related to the referral to Your Honor. However,
counsel had difficulty coordinating efforts and by the time we were able to submit a draft to Plaintiffs’
counsel and counsel for Defendants Jeremy Falk and Summit Rock Holdings, LLC, it was after 10 p.m.
Therefore, given the late hour and in order to comply with the Court's Order, we hereby submit this status
update on behalf of Defendants Gitman, Accel, Dalva and CR, Inc. It is our understanding Plaintiffs'
counsel will be submitting its own status update tomorrow morning.

The July 5, 2017 Court Conference
On July 5, 2017, the parties appeared before the Court to address all outstanding issues regarding the

Court's Temporary Restraining Orders of June 8, 2017, as amended on June 9, 2017, June 19, 2017 and
June 21, 2017 (the “Orders”). With the Court's assistance, all remaining issues under those Orders were
resolved during that conference.

The NDAP Asset Purchase Agreement
From the July 5, 2017 conference with Your Honor through September 14, 2017, Plaintiffs’ counsel did

not complain of any alleged violations of any of the Court's Orders. On July 28, 2017, counsel for
Plaintiffs confirmed to Defendants' counsel that the Asset Purchase Agreement, dated July 21, 2017,
entered into by and among NDAP, LLC, Cooper Square Ventures, LLC ("CSV"), Meridian Rack &
Pinion, Inc., and Michael Dardashtian and David Gitman, was closed.
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Page 2

Some Portion of the Asset Purchase Agreement Proceeds Should Be Distributed
The purchase price paid to CSV was $450,000, Under the terms of the agreement, $25,000 was paid at

Closing, and an additional $100,000 was paid on August 15, 2017. The balance of the proceeds are then
paid by monthly installments not to exceed $15,000 according to a formula. It is Defendants’ contention
that some portion of the proceeds is available and should be distributed.

Although Defendants have requested distribution of the sale proceeds, no distribution has been provided
by Plaintiffs’ counsel. Defendant David Gitman believes there is no basis for a lack of distribution, and
would respectfully request the Court's assistance in ordering the distribution to the extent it is willing and
deems the request appropriate. Defendants Jeremy Falk and Summit Rock Holdings, LLC have also
stated a desire for distributions to be made from the Asset Purchase Agreement.

The Joint Conference Call

On Friday, September 15, 2017, counsel for the parties participated in a conference call in an effort to
discuss any outstanding issues pursuant to the Court's Order. Plaintiffs' counsel raised issues concerning
the dissolution of CR, Inc., and possible competition by defendant Dalva. Defendants’ counsel was not
aware of any such issues until they were raised by Plaintiffs’ counsel, and continues to believe that
Defendants David Gitman, Accel, Dalva and CR, Inc. are in full compliance with the Court's Orders.
Papers confirming the dissolution of CR, Inc. were provided to Plaintiffs’ counsel on June 20, 2017, and
are attached as Exhibit A for the Court's convenience.

Defendants Contend that Mr. Gitman Should Be Restored as Day-to-Day Co-Manager
Accordingly, Defendants contend that the Court-ordered removal of Mr. Gitman as co-Manager is no

longer necessary. Mr. Gitman should be reinstated as a day-to-day co-Manager of CSV with Mr.
Dardashtian, and Mr. Joel Liebman, currently serving as temporary Manager, should be relieved of that
position. Defendants respectfully request the Court's assistance in restoring Mr. Gitman as co-Manager of
CSV.

The Summit Rock Holdings/Falk Settlement Agreement

An additional issue has surfaced regarding the Settlement Agreement by and among Defendant Jeremy
Falk, Summit Rock Holdings, LLC, and David Gitman, Accel, CR, Inc., and Dalva, on the one hand, and
Michael Dardashtian, CSV, NDAP, LLC and ChannelReply, LLC, on the other hand. Although all of the
parties agree on nearly all of the terms of the Settlement Agreement, a remaining dispute exists regarding
language contained ina WHEREAS clause (Section D). Counsel for Gitman has provided consistent
comments from the beginning regarding the WHEREAS clause. Mr. Gitman wishes to reserve his rights
regarding the language contained in the WHEREAS clause, and intends to file counterclaims shortly
which will set forth Mr. Gitman's position on the issue. Counsel for Gitman has informed Plaintiffs’
counsel regarding Mr. Gitman's position, but has not received a response. Indeed, Counsel for Gitman
has attempted several revisions of the WHEREAS clause, which have been unsuccessful. Defendants
Gitman, Accel, CR, Inc. and Dalva therefore respectfully request the Court's assistance to resolve this
issue as well.
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Page 3

Respectfully submitted,

On behalf of Defendants David Gitman, Accel
Commerce, LLC, Dalva Ventures, LLC and
ChannelReply, Inc.,

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Brian S. Cousin
Lindsay F. Ditlow
Mark D. Meredith

cc: The Honorable Louis L. Stanton (via Federal Express)
Barry S. Guaglardi, Esq. (via CM/ECF) (Counsel for Plaintiffs)
Evan Oster (via CM/ECF) (Counsel for Plaintiffs)
Edward P. Gilbert (via CM/ECF) (Counsel for Summit Rock Holdings, LLC and Jeremy Falk)

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